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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 ARCHER AND WHITE SALES, INC.,                          §
                                                        §
                 Plaintiff,                             §
                                                        §
 v.                                                     §
                                                        §
 HENRY SCHEIN, INC., DANAHER                            §
 CORPORATION, INSTRUMENTARIUM                           §
 DENTAL INC., DENTAL EQUIPMENT                          §   CIVIL ACTION NO. 2:12-CV-00572-JRG
 LLC, KAVO DENTAL                                       §
 TECHNOLOGIES, LLC, DENTAL                              §
 IMAGING TECHNOLOGIES,                                  §
 CORPORATION, PATTERSON                                 §
 COMPANIES, INC., BENCO DENTAL                          §
 SUPPLY CO.,                                            §
                                                        §
                 Defendants.

                                                ORDER

        Before the Court is Defendants’ Motion to Stay Pending Appeal (the “Motion to Stay”),

(Dkt. No. 409), and Plaintiff’s Motion to Set Docket Control Order (the “Motion to Set DCO”),

(Dkt. No. 410). Having considered the briefing and relevant authorities, the Court hereby

GRANTS the Motion to Stay and DENIES the Motion to Set DCO for the reasons set forth herein.

        On March 2, 2018, the above-captioned case was stayed pending the filing and disposition

of a petition for a writ of certiorari to the Supreme Court of the United States. (Dkt. No. 399.) On

June 25, 2018, the petition for writ of certiorari was granted, (Dkt. No. 406), and the Supreme

Court issued its judgment on January 8, 2019. See Henry Schein, Inc. v. Archer & White Sales,

Inc., 139 S. Ct. 524 (2019). The stay was subsequently lifted. (Dkt. No. 399.)

        In Schein v. Archer & White, the Supreme Court reversed the Fifth Circuit’s holding that

even if the parties delegate the threshold question of arbitrability to the arbitrator, the district court


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may, in its discretion, decline to send the arbitrability issue to the arbitrator if it finds the assertion

of arbitrability to be “wholly groundless.” 139 S. Ct. at 529. The Court held that “[w]hen the

parties’ contract delegates the arbitrability question to an arbitrator, a court may not override the

contract” and “remanded for further proceedings consistent with this opinion.” Id. at 531. The

Court “express[ed] no view about whether the contract at issue in this case in fact delegated the

arbitrability question to an arbitrator” and explained that “[o]n remand, the Court of Appeals may

address that issue in the first instance, as well as other arguments that Archer and White has

properly preserved.” Id.

        On February 13, 2019, the Fifth Circuit ordered the parties to file supplemental briefs

addressing the impact of the Supreme Court’s decision on the remaining arbitration issues. See

Archer and White Sales, Inc. v. Henry Schein, Inc., et al, No. 16-41674 (5th Cir. 2016). Briefing

has been completed and oral argument is set before the Fifth Circuit for May 1, 2019. Id.

        Defendants move for a stay to permit the Fifth Circuit to address the remaining arbitration

issues on remand. They explain that the “primary issue remanded to the Fifth Circuit [is] whether

[the parties’] contract’s invocation of the AAA’s rules constitutes an express delegation of the

question of arbitrability to the arbitrator.” (Dkt. No. 409 at 4.) Defendants explain that nearly

every circuit, including the Fifth Circuit, has held that arbitration agreements “clearly and

unmistakably delegate arbitrability to the arbitrator when it incorporates arbitration rules that

provide for such delegation.” (Id. at 4.) Defendants argue that should the Fifth Circuit find that

the parties did delegate this threshold inquiry to the arbitrator and “decide to refer the case to

arbitration, [then] all of the issues before this Court would be moot.” (Id. at 3.) Otherwise,

Defendants contend they will have to suffer the expense and time of a trial to then have the claims

sent to arbitration. (Id.)



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       Plaintiff “agrees that a trial should not occur before the Fifth Circuit issues its opinion,”

but “does not agree that the pending appeal should prevent the Court from issuing a new Docket

Control Order setting a pretrial schedule and motions hearing, or from reserving a potential trial

date.” (Dkt. No. 413 at 1; Dkt. No. 410 (Motion to Set DCO).) Plaintiff argues that Defendants

are not likely to succeed on appeal and that the Fifth Circuit will likely find that the contract does

not delegate the threshold inquiry to the arbitrator. (Dkt. No. 413 at 3.) Plaintiff argues that

denying a stay will not cause Defendants irreparable harm because Plaintiff “asks only that the

Court reserve dates on its calendar for hearings and a trial pending the Fifth Circuit’s decision”

and is amendable to pushing those dates should the appeal remain pending. (Id.)

       In exercising its discretion to control its own docket, the Court finds that a stay is

appropriate in this particular case. Landis v. N. Am. Co., 299 U.S. 248, 254 (1936); TQP Dev.,

LLC v. 1-800-Flowers.com, Inc., No. 2:11CV248, 2012 WL 12830187, at *2 (E.D. Tex. May 18,

2012). The issues before the Fifth Circuit are set for oral argument on May 1, 2019 and their

resolution on appeal could potentially moot all claims pending before this Court. Moreover,

Plaintiff has represented that it “does not expect the Court to rule on any pending motions while

the arbitration issue is pending [on appeal].” (Dkt. No. 410 at 1.) Accordingly, the Court does

not find it necessary to “reserve” potential pretrial and trial dates before the Fifth Circuit issues a

decision on remand.

       Based on the foregoing, the Court hereby GRANTS Defendants’ Motion to Stay Pending

Appeal, (Dkt. No. 409), and DENIES Plaintiff’s Motion to Set Docket Control Order, (Dkt. No.

410). It is ORDERED that all pending deadlines in Case No. 2:12-cv-00572-JRG are STAYED

pending a future order lifting the same. When the Fifth Circuit issues its decision addressing the

arbitration issues on remand from the Supreme Court in Case No. 16-41674, the Parties may seek



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to lift the stay if the Circuit’s opinion provides a basis for such relief. Further, when the Fifth

Circuit has issued its decision, the Parties are ORDERED to file a Joint Status Report with the

Court that (1) notifies the Court of the Fifth’s Circuit’s decision and (2) identifies all motions,

issues, claims or portions thereof which are rendered moot by the Fifth’s Circuit decision

and setting forth a complete list of surviving motions, issues, claims, or portions thereof

which remain live for the Court.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 1st day of April, 2019.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




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